Case 2:03-CV-02423-SH|\/|-tmp Document 154 Filed 08/26/05 Page 1 of 3 Page|D 166

IN THE UNITED STATES DISTRICT COURT F"'ED BY ~- »-~... D-C.
FoR THE wEsTERN DISTRICT oF TENNESSEE
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LAURA A. TAVERNIER, M.D.,

 

Plaintiff,

V. NO. 03-2423-M6P

THE UNIVERSITY OF TENNESSEE
COLLEGE OF MEDICINE, ET AL.,

Defendants.

 

ORDER GRAN'I'ING PERMISSION TO FILE SUR-REPLY
TO DEFENDANT MID"I‘LING'S REPLY TO PLAINTIFF'S RESPONSE 'I‘O
MOTION FOR SUMMARY JUDGMENT

 

Before the court is plaintiff's August 23, 2005, motion to
file a sur-reply to the defendant John E. Midtling's (in his
individual capacity) reply to plaintiff’s response to motion for
summary judgment. For good cause shown, the motion is granted
and plaintiff may file her sur~reply.

lindley of August, 2005.

j/;sz,_.

SAMUEL H. MAYS, JR.
UNITED S"I‘ATES DISTRICT JUDGE

It is so ORDERED this

 

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with Rule 56 and/or 79(a) FRC,P on w ___a§

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Notice of Distribution

This notice confirms a copy of the document docketed as number 154 in
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Case 2:03-cV-02423-SH|\/|-tmp Document 154

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Honorable Samuel Mays
US DISTRICT COURT

Filed 08/26/05 Page 3 of 3 Page|D 168

